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  1 QUINN EMANUEL URQUHART & SULLIVAN, LLP
    David Perlson (Bar No. 209502)             Lance Yang (Bar No. 260705)
  2 davidperlson@quinnemanuel.com              lanceyang@quinnemanuel.com
  3 Andrew   Holmes   (Bar  No. 260475)        Valerie Lozano (Bar No. 260020)
    drewholmes@quinnemanuel.com                valerielozano@quinnemanuel.com
  4 50 California  Street, 22nd Floor          865 S. Figueroa St., 10th Floor
    San Francisco, CA 94111                    Los Angeles, CA 90017
  5 Telephone: (415) 875-6600                  Telephone: (213) 443-3000
    Facsimile: (415) 875-6700                  Facsimile: (213) 443-3100
  6
  7 Brian Biddinger (Bar No. 224604)
    brianbiddinger@quinnemanuel.com
  8 51 Madison Avenue, 22nd Floor
    New York, NY 10010
  9 Telephone: (212) 849-7000
 10 Facsimile: (212) 849-7100
 11 Attorneys  for Defendant and Counterclaimant
    Netflix, Inc.
 12
                            UNITED STATES DISTRICT COURT
 13                 FOR THE CENTRAL DISTRICT OF CALIFORNIA
 14    DIVX, LLC, a Delaware limited
 15    liability company,
                                                      Case No. 2:19-cv-01602-PSG(DFMx)
 16                       Plaintiff,
                                                       DECLARATION OF LANCE
 17               v.                                   YANG IN SUPPORT OF
                                                       NETFLIX, INC.’S OPPOSITION
 18    NETFLIX,        INC.,     a      Delaware       TO DIVX, LLC’S MOTION TO
 19    corporation,                                    LIFT STAY AND REOPEN CASE
 20                       Defendant.
 21    NETFLIX,        INC.,     a      Delaware
 22    corporation,

 23                       Counterclaimant,
 24               v.
 25    DIVX, LLC, a Delaware limited
 26    liability company,
 27               Counterclaim-Defendant.
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                                                  -i-                    Case No. 2:19-cv-1602-PSG-DFM
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  1                          DECLARATION OF LANCE L. YANG
  2        I, Lance L. Yang, hereby declare as follows:
  3        1.       I am a partner at Quinn Emanuel Urquhart & Sullivan LLP, counsel for
  4 Netflix, Inc. (“Netflix”). I am a member in good standing of the Bar of the State of
  5 California. I make this declaration based on personal knowledge and, if called as a
  6 witness, I could and would testify competently to the matters set forth herein.
  7        2.       I make this declaration in support of Netflix’s Opposition to Plaintiff
  8 DivX, LLC’s Motion to Lift Stay and Reopen Case.
  9        3.       Prior to the Court’s May 11, 2020 order staying this case, DivX and
 10 Netflix each served a set of requests for production and interrogatories on the other
 11 party, as well as objections and responses to those discovery requests. DivX also
 12 served one additional interrogatory on Netflix.
 13        4.       Netflix has produced 1408 pages of documents in this case.
 14        5.       DivX also served two Rule 30(b)(6) notices and requested in a
 15 corresponding letter a preliminary deposition of a document systems custodian to
 16 testify about the types and categories of documents, data, and materials in Netflix’s
 17 possession, custody or control. No depositions had been scheduled when this case
 18 was stayed.
 19        6.       When this case was stayed, the parties had not yet exchanged proposed
 20 claim constructions.
 21        7.       Netflix has filed appeals of six of the PTAB’s IPR decisions to the
 22 Federal Circuit:
 23         Docket No. 2021-1931, filed on April 30, 2021, appeals the PTAB’s
 24             decision in IPR2020-00052 challenging claims 1, 2, 4, and 17-19 of U.S.
 25             Patent No. 8,139,651. Netflix filed its opening brief on September 20, 2021
 26             and DivX filed its response brief on January 3, 2022. Netflix’s reply brief
 27             is due on February 24, 2022.
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                YANG DECLARATION IN SUPPORT OF NETFLIX’S OPPOSITION TO MOTION TO LIFT STAY AND REOPEN CASE
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  1         Docket No. 2022-1043, filed on October 12, 2021, appeals the PTAB’s
  2             decision in IPR2020-00511 challenging claims 1-3, 5, 6, 12, 14, and 15 of
  3             U.S. Patent No. 9,184,920. Netflix’s opening brief is due on February 22,
  4             2022.
  5         Docket No. 2022-1083, filed on October 22, 2021, appeals the PTAB’s
  6             decision in IPR2020-00558 challenging claims 1-24 of U.S. Patent No.
  7             10,225,588. Netflix’s opening brief is due on February 25, 2022.
  8         Docket No. 2022-1138, filed on November 8, 2021, appeals the PTAB’s
  9             decision in IPR2020-000646 challenging claims 1, 5, 8, 9, 13-15, 18 and 21-
 10             23 of U.S. Patent No. 8,472,792. Netflix’s opening brief is due on February
 11             19, 2022.
 12         Docket No. 2022-1203, filed on November 24, 2021, appeals the PTAB’s
 13             decision in IPR2020-000647 challenging claims 1-5 and 12 of U.S. Patent
 14             No. 9,270,720. Netflix’s opening brief is due on March 11, 2022.
 15         Docket No. 2022-1204, filed on November 24, 2021, appeals the PTAB’s
 16             decision in IPR2020-000648 challenging claims 1-6, 8-10, 13-14, 16, 17,
 17             and 19 of U.S. Patent No. 9,998,515. Netflix’s opening brief is due on
 18             March 11, 2022.
 19        8.       The PTAB’s Final Written Decision in IPR2020-00646 invalidated all
 20 fifteen challenged claims of U.S. Patent No. 7,295,673. DivX has until February 18,
 21 2022 to file a Notice of Appeal of this decision.
 22        9.       Attached as Exhibit 1 is a true and correct copy of the Complaint filed
 23 by DivX on September 10, 2020 at the International Trade Commission (“ITC”)
 24 asserting infringement of four patents—including U.S. Patent No. 10,212,486—
 25 against Respondents LG Electronics, Inc., LG Electronics USA, Inc. (collectively,
 26 “LG”), MediaTek Inc., MediaTek USA Inc., MStar Semiconductor, Inc.
 27 (collectively, “MediaTek”), Realtek Semiconductor Corporation (“Realtek”),
 28 Samsung Electronics America, Inc., Samsung Electronics Co., Ltd., Samsung

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  1 Electronics HCMC CE Complex Co, Ltd. (collectively, “Samsung”), Shenzhen TCL
  2 New Technology Company Limited, TCL Electronics Holdings Ltd. f/k/a TCL
  3 Multimedia Technology Holdings Ltd., TCL King Electrical Appliances (Huizhou)
  4 Co. Ltd., TCL MOKA International Limited, TCL Smart Device (Vietnam)
  5 Company Ltd., TCL Technology Group Corporation f/k/a TCL Corporation, and
  6 TTE Technology, Inc. (collectively, “TCL”).
  7         10.   Attached as Exhibit 2 is a true and correct copy of excerpts of
  8 Respondent TCL’s Initial Post-Hearing Brief in Certain Video Processing Devices,
  9 Components Thereof, and Digital Smart Televisions Containing the Same, Inv. No.
 10 337-TA-1222 (USITC).
 11         11.   Attached as Exhibit 3 is a true and correct copy of Order No. 71 in
 12 Certain Video Processing Devices, Components Thereof, and Digital Smart
 13 Televisions Containing the Same, Inv. No. 337-TA-1222 (USITC) issued by the ALJ
 14 on December 3, 2021.
 15         12.   Attached as Exhibit 4 is a true and correct copy of an excerpt of the
 16 Final Written Decision in IPR2020-00558 issued by the PTAB on August 23, 2021.
 17         13.   Attached as Exhibit 5 is a true and correct copy of an excerpt of Netflix
 18 and Hulu, LLC’s opening brief in the Federal Circuit appeal with docket no. 2021-
 19 1931.
 20         14.   Attached as Exhibit 6 is a true and correct copy of excerpts of the Final
 21 Written Decision in IPR2020-00052 issued by the PTAB on April 22, 2021.
 22         15.   Attached as Exhibit 7 is a true and correct copy of the Notice of Appeal
 23 filed by Netflix in Netflix, Inc. v. DivX LLC, No. 2022-1043 (Fed. Cir. Oct. 13,
 24 2021).
 25         16.   Attached as Exhibit 8 is a true and correct copy of excerpts of the Final
 26 Written Decision in IPR2020-00511 issued by the PTAB on August 13, 2021.
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              YANG DECLARATION IN SUPPORT OF NETFLIX’S OPPOSITION TO MOTION TO LIFT STAY AND REOPEN CASE
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  1        17.    Attached as Exhibit 9 is a true and correct copy of the Notice of Appeal
  2 filed by Netflix in Netflix, Inc. v. DivX LLC, No. 2022-1138 (Fed. Cir. Nov. 10,
  3 2021).
  4        18.    Attached as Exhibit 10 is a true and correct copy of the Notice of
  5 Appeal in filed by Netflix Netflix, Inc. v. DivX LLC, No. 2022-1083 (Fed. Cir. Oct.
  6 25, 2021).
  7        I declare under penalty of perjury under the laws of the United States of
  8 America that the foregoing is true and correct.
  9        Executed this 4th day of February, 2022, in Los Angeles, California.
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                                                          /s/ Lance L. Yang
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              YANG DECLARATION IN SUPPORT OF NETFLIX’S OPPOSITION TO MOTION TO LIFT STAY AND REOPEN CASE
